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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                                   Hon. Susan D. Wigenton
         V.
                                                   Crim. No. 20-365
SAMORA PATTERSON
                                                   ORDER FOR DISMISSAL

                Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure

and by leave of Court endorsed hereon, Craig Carpenito, the United States

Attorney for the District of New Jersey, hereby dismisses the Information,

Crim. No. 20-365, against defendant Samora Patterson (the "Defendant"), which

Information was filed on May 5, 2020, and which charged the Defendant with

conspiracy to transact in criminal proceeds, contrary to 18 U.S.C. § 1957, in

violation of 18 U.S.C. § 1956(h); and transacting in criminal proceeds, in

violation of 18 U.S.C. § 1957, because further prosecution by Information

against the Defendant is not in the interests of the United States at this time. 1

                This dismissal is without prejudice.




                                                United States Attorney


Leave of Court is granted for the filing of the foregoing dismissal.



                                                 s/ Susan D. Wigenton
                                                HON. SUSAN D. WIGENTON
                                                United States District Judge
        June 8, 2020
Dated: -------

1   The Government is not moving to dismiss the Complaint, Mag. No. 19-8058.
